Case 1:23-cv-03122-MLB Document 35-6 Filed 10/13/23 Page 1 of 7




                        EXHIBIT 5
Case 1:23-cv-03122-MLB Document 35-6 Filed 10/13/23 Page 2 of 7
                                                            10                                       23                           Retry Prem
                                                                                                              Me
                                            Home      My Network       Jobs      Messaging    Notifications        For Business           $0




          Fredy Riehl · 3rd
          Editor at AmmoLand Shooting Sports News

               AmmoLand.com

               Monmouth University
          Manasquan, New Jersey, United States · Contact info
          500+ connections

            Message             Follow        More




          About
          As Founder and Editor In Chief for AmmoLand News I have learned its all about the
          folks you know. The world of Shooting Sports has such a great industry, made up of
          the friendliest people you could ever hope to meet.

          So if we have not yet met or taken the time to speak please contact me, I would love
          to hear about your business, your latest hunt or you most recent accomplishment
          and just get to know you... it is through these same connections that we find the new
          content for AmmoLand Shooting Sport News.

          As many of you know AmmoLand has become a monster in shooting sports and like
          any monster you have to feed it daily, that is why we are always looking for new
          stories, news, press and PR for our 50,000 plus daily readers across our website,
          email, newswire and social media.

          If you have something to say, need a place to blog a daily/weekly/monthly column to
          an already massive audience we welcome you and so will our readers.

          Help me feed the monster will ya? Get in touch with me today.

          Fredy Riehl
          Editor - AmmoLand Shooting Sports News
          PO Box 0465
          Manasquan, NJ 08736 USA
          news@ammoland.com
          www.Ammoland.com
          732-925-3647:cell
          fred.riehl : skype

          Specialties: Expert at Social Media Marketing with Concentration in Shooting Sports

          Editing for the Internet, Wordpress, SEO Consultant, Photoshop for Web, Editorial,
          Professional Writing, Press Relations, Search Engine Marketing, Web Site Advertising,
          Online Media Planning, Social Media Marketing, Affiliate Marketing, Ecommerce
          Sales, Web Project Management,

          Facebook, Twitter, RSS, Word Press, Google Search, Google Analytics, Online Media
          Kits, Search Research, Link Building, White Hat SEO
Case 1:23-cv-03122-MLB Document 35-6 Filed 10/13/23 Page 3 of 7
          Activity
          3,093 followers

          Fredy hasn’t posted yet
          Recent posts Fredy shares will be displayed here.


                                          Show all activity



          Experience
                   Editor-In-Chief & Owner
                   AmmoLand.com · Self-employed
                   Oct 2008 - Present · 15 yrs 1 mo
                   Sebastian, Florida 32958

                   Manage, edit and approve all content and editorial appearing on the
                   AmmoLand Shooting Sports News daily news-wire. As the webs leading
                   Shooting Sports News Service for the Firearms, Shooting, Hunting and
                   Conservation communities we report to 40,000+ daily readers on all the
                   following topics:

                   * Shooting Competitions
                   * Gun Politics
                   * New Guns
                   * Old Guns
                   * Gun Auctions & Sales
                   * Firearms Industry
                   * Archery Industry
                   * Conservation
                   * Fish and Game
                   * Guns & Gear, Accessories
                   * Shooting Media, TV & Web
                   * Shooting Sports Art & Culture
                   * Firearms Events & Shows
                   * Gun & Ammunition Deals, Sales and Retailers
                   * Everything Firearms Related….

                   Contact me if you are interested in having your related business covered on
                   AmmoLand.com


                   Owner
                   Surfeyes Eyewear
                   2001 - 2010 · 9 yrs

                   Owner, developer and marketer of successful online retail accessories e-
                   commerce operation.


                   SEO Consultant
                   SureSolutions Inc
                   2005 - 2009 · 4 yrs

                   Consulted on various SEO projects for multiple midsized eCommerce
                   websites with a focus on Shooting Sports.


                   Manager / Buyer / Communications
                   Brave New World
                   1983 - 2001 · 18 yrs

                   Managed multi-location sporting goods retailer including all aspects of day
                   to day operations, staff, buying and marketing.




          Education
                   Monmouth University
                   Buisness Administration, Marketing
                   1985 - 1989
Case 1:23-cv-03122-MLB Document 35-6 Filed 10/13/23 Page 4 of 7
                   Monmouth University
                   Bachelor's degree, Marketing




          Volunteering
                   Professional Outdoor Media Board Member
                   Professional Outdoor Media Association (POMA)




          Skills
          Grass Roots Expert
              5 endorsements



          Social Media
              Endorsed by Justin Morrissey and 2 others who are highly skilled at this

              Endorsed by 4 colleagues at AmmoLand

              99+ endorsements


                                         Show all 50 skills



          Recommendations
          Received       Given


                   C.D. (Chuck) Michel · 3rd
                   Senior Partner at Michel & Associates, P.C. - Firearms, Environmental, Land
                   Use, Labor Law, Civil Litigation
                   February 6, 2013, C.D. (Chuck) worked with Fredy but they were at different
                   companies

                   Fredy's is a tremendous business manager and news producer. His
                   productions are hard hitting and informative. His efforts and hard work
                   really pay off in the form of infomative and useful information that helps
                   preserve and advvance the RKBA.


                   Ashley Gall · 3rd
                   Experienced Public Relations and Marketing Communications Professional
                   May 22, 2012, Ashley worked with Fredy but they were at different
                   companies

                   Fredy is a pleasure to work with and always is quick and responsive to our
                   needs (and that of our clients). His follow up is prompt and thorough and
                   we always enjoy working with him!


                                        Show all 9 received



          Publications
          AmmoLand Shooting Sports News

            Show publication

          Ammoland.com, is the web’s leading Shooting Sports News Service for the Second
          Amendment, Firearms, Shooting, Hunting and Conservation communities.




          Honors & awards
          Defender of Liberty Award
          Issued by Second Amendment Foundation · Sep 2012
Case 1:23-cv-03122-MLB Document 35-6 Filed 10/13/23 Page 5 of 7
               Associated with AmmoLand.com


          Fredy Riehl was awarded the 'Defender of Liberty' award by Second Amendment
          Foundation at the SAF 2012 Gun Rights Policy Conference for his work in defense
                                                                                   …see more
                                                                                          of…




          Languages
          American English
          Full professional proficiency


          Gun Speak
          Native or bilingual proficiency




          Organizations
          Professional Outdoor Media Association (POMA)
          Voting Media & 2nd VP POMA Board of Directors · Jan 2013 - Present

               Associated with AmmoLand.com



          National Rifle Association
          Life Member, Ring Of Freedom Member, Board Member's Advocate / Advisor · Oct
          2008 - Present

               Associated with AmmoLand.com


                                      Show all 3 organizations



          Interests
          Companies          Groups         Schools


                   Monmouth University
                   49,737 followers

                         Follow


                   NSSF—The Firearm Industry Trade Association
                   41,692 followers

                         Follow


                                          Show all companies



          Causes
          Civil Rights and Social Action • Politics




                           English                                  Español



          People also viewed

                   Silvia Moctezuma · 3rd+
                   Insurance /
                   Marketing & Advertising

                         Message


                   Daniel Wagner · 3rd+
                   Navy Corpsman
Case 1:23-cv-03122-MLB Document 35-6 Filed 10/13/23 Page 6 of 7
                          Message


                  Adriana Blandford · 3rd
                   VP Digital Marketing at GunBroker.com

                          Message


                  Daniel Johnson · 3rd
                  Staff Nurse at Eastern Kansas VA Healthcare, Topeka, Kansas

                          Message


                  Rita Peralta · 3rd+
                  HISD Clerk for PDHH at Houston ISD

                          Connect


                                                 Show all


          People you may know
          From Fredy's company

                  Brian Johnson
                  Editor at Ammoland Shooting Sports News

                          Connect


                  Dean Weingarten
                  Blogger

                          Connect


                  Brian Johnson
                  Editor at AmmoLand Inc.

                          Connect


                  Michael Ware
                  CEO - Controlled Chaos Arms

                          Connect


                  Brian Johnson
                  CEO, Co-Founder, Digital Marketing Executive, Ammoland.com

                          Connect


                                                 Show all


          You might like
          Pages for you

                  DLA Piper Media, Sport and Entertainment sector
                  Legal Services
                  1,588 followers

                          1 connection follows this page


                          Follow


                  DLA Piper Energy and Natural Resources Sector
                  Legal Services
                  4,704 followers
                              Case 1:23-cv-03122-MLB Document 35-6 Filed 10/13/23 Page 7 of 7
                                                1 connection follows this page


                                                 Follow


                                                                       Show all




About                          Accessibility   Talent Solutions                   Questions?                              Select Language
                                                                                  Visit our Help Center.
Community Guidelines           Careers         Marketing Solutions                                                         English (English)

Privacy & Terms                Ad Choices      Advertising                        Manage your account and privacy
                                                                                  Go to your Settings.
Sales Solutions                Mobile          Small Business

Safety Center
                                                                                  Recommendation transparency
                                                                                  Learn more about Recommended Content.


LinkedIn Corporation © 2023
